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                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF OREGON
                                  PORTLAND DIVISION



INDEX NEWSPAPERS, LLC, et al.,                         Case No. 3:20-cv-1035-SI
               Plaintiffs.                             FEDERAL DEFENDANTS’
                                                       RESPONSE TO NOTICE OF
                                                       SUPPLEMENTAL AUTHORITY
       v.

CITY OF PORTLAND, et al.,

               Defendants.



       Defendants the Department of Homeland Security (“DHS”) and the United States Marshals

Service (“USMS”) respectfully submit this response to Plaintiffs’ notice of supplemental authority.

See ECF No. 269. Plaintiffs’ notice refers the Court to the recent Supreme Court decision in West

Virginia v. EPA, No. 20-1530 (U.S. June 30, 2022). Plaintiffs suggest that West Virginia addressed

situations in which “the case was mooted by changed circumstances.” ECF No. 269, at 1.



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However, the Court stated that “[t]he only conceivable basis for a finding of mootness in th[e] case

is [the respondent’s] voluntary conduct.” West Virginia, Slip Op. at 15 (alterations in original)

(quoting Friends of the Earth, Inc. v. Laidlaw Envt’l Servs. (TOC), Inc., 528 U.S. 167, 189 (2000)).

The Court therefore did not address situations in which “the changed circumstances . . . are not

simply a voluntary cessation of conduct by Defendants in response to the same circumstances, [but

rather] changed circumstances outside the control of Defendants, including significantly fewer and

more sporadic protests with fewer participants.” See Wolfe v. City of Portland, 566 F. Supp. 3d

1069, 1082 (D. Or. 2021) (citing Wise v. City of Portland, 539 F. Supp. 3d 1132, 1147–48 (D. Or.

2021).

Dated: July 6, 2022                                  Respectfully submitted,

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